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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN



  Ford Motor Company,
                                          Case No. 15-10628-MFL-EAS
              Plaintiff/                  (consolidated with Case No. 15-cv-11624)
              Counter-Defendant,
  v.                                      Hon. Matthew F. Leitman

  Versata Software, Inc., f/k/a Trilogy   JURY TRIAL DEMANDED
  Software, Inc., Trilogy Development
  Group, Inc. and Trilogy, Inc.,

              Defendants/
              Counter-Plaintiffs.




                  FORD’S SECOND AMENDED COMPLAINT
                     FOR DECLARATORY JUDGMENT


        Pursuant to the Declaratory Judgment Act, 28 U.S.C. §2201 and the Court’s

  Order (Dkt. #215), Plaintiff Ford Motor Company (“Ford”) requests a Declaratory

  Judgment as follows:
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                                 I.    THE PARTIES
        1.      Ford is a Delaware corporation with its principal place of business at

  One American Road, Dearborn, Michigan.

        2.      On information and belief, Versata Software, Inc., f/k/a Trilogy

  Software, Inc. is a Delaware corporation having its principal place of business in

  Austin, TX.

        3.      On information and belief, Trilogy Development Group, Inc. (“Trilogy

  Development”) is a California corporation having its principal place of business in

  Austin, TX.

        4.      On information and belief, Versata became a wholly-owned subsidiary

  of Trilogy Development in 2006, and Trilogy Development is the parent company

  of Versata and its subsidiaries.

        5.      On information and belief, Trilogy, Inc. is a Delaware corporation

  having its principal place of business in Austin, TX. The Defendants are referred to

  collectively in this document as “Versata.”




                        II.    JURISDICTION AND VENUE
        6.      Ford incorporates the allegations of paragraphs 1-5.

        7.      This Court has jurisdiction over these claims pursuant to 28 U.S.C.

  §§1331, 1338, and 2201.


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        8.     As detailed below, an actual case and controversy exists concerning the

  alleged infringement of one or more of Defendants’ patents, the alleged

  misappropriation of Defendants’ purported trade secrets, and Ford’s obligations

  pursuant to a 2004 agreement with Defendants.

        9.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b).




                            III.   BACKGROUND FACTS
        10.    Ford incorporates the allegations of paragraphs 1-9.



  Ford’s Early Vehicle Configuration Software

        11.    Ford is an Original Equipment Manufacturer (“OEM”) of automobiles.

        12.    Ford sells a wide range of vehicle lines in different vehicle categories,

  such as compact cars, SUVs, sedans and pick-up trucks. Each vehicle line in each

  category has many different configurations and options. For example, most vehicles

  are offered with more than one engine choice, more than one transmission choice,

  more than one wheel choice and several other configurations and options.

        13.    Not all vehicle components are compatible with one another. For

  example, a particular engine may not be compatible with a particular transmission.

  A particular transmission, however, may be compatible with several different (but

  not all) available engine selections.


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        14.    Given the complexity and options available on a particular vehicle,

  millions of configurations are possible for each vehicle line.

        15.    Beginning in the 1990s, Ford developed the Marketing Feature

  Availability List (“MFAL”) and the “Product Feature Database” (“PFDB”) software

  to help Ford define and manage valid vehicle configurations within Ford.



  Defendants’ Configuration Software

        16.    In October 1998, Ford licensed “SC Config” software from Defendants.

  The SC Config software proved incapable of handling the complexity and volume

  of data required to support Ford’s needs.

        17.    Thus, at the same time Ford licensed SC Config, Ford and Defendants

  entered into in a Contract Services Agreement (“CSA”) governing the development

  of customized software for Ford.

        18.    The CSA states that Ford either owns, or has a royalty-free license to

  reproduce the software deliverables and customizations for the SC Config software.

        19.    Between 1999 and 2004, Defendants and Ford jointly developed the

  “Automotive Configuration Manager” (“ACM”) pursuant to the CSA.

        20.    The ACM was an adaptation of SC Config for use within Ford. This

  was required due to the high levels of data volumes and the complexity of Ford’s

  vehicle offerings.


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         21.    Ford paid Defendants tens of millions of dollars for the ACM

  development services pursuant to the CSA.

         22.    In December 2004, Ford and Defendants entered into a Master

  Subscription and Services Agreement (“MSSA”), governing the licensing of, inter

  alia, the ACM software.

         23.    Similar to the CSA, the MSSA included provisions establishing Ford’s

  ownership, or license to reproduce, deliverables created under the MSSA.



  Defendants Unilaterally Declares The ACM Software “Obsolete” And Terminate
  Ford’s Maintenance & Support For The ACM Software

         24.    In November 2010, Defendants informed Ford that the ACM software

  was “obsolete,” and that Ford was required to license Defendants’ new “cloud-

  based” computing platform going forward. For security reasons, Ford was not

  willing to move its proprietary vehicle configuration data off-premises to the

  “cloud,” i.e., the Internet.

         25.    Prior to these discussions, Defendants threatened Ford with termination

  of the license for the original ACM software if Ford refused to move to the “cloud-

  based” platform.

         26.    During subsequent discussions with Ford, however, Defendants later

  permitted Ford to continue using the “obsolete” ACM software at an annual license




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  fee of several million dollars, but without Defendants’ maintenance or support

  services.

        27.   Because Ford needed maintenance and support for the ACM software,

  and because Defendants had previously threatened to terminate its license for the

  original ACM software, Ford entered into an addendum to the original ACM

  software licensee.

        28.   In the addendum, Ford paid Defendants a substantial additional fee for

  an “Extended Support Term” for the original ACM software and for Defendants to

  waive their right to terminate the ACM license for convenience during the Extended

  Support Term.



  Defendants Terminated Ford’s ACM License, And Described Their Exorbitant
  Licensing Fees As “Extortion”

        29.   Defendants notified Ford on October 7, 2014 that they were terminating

  Ford’s ACM license, effective January 1, 2015. Defendants’ letter stated that Ford

  was to cease using the ACM software by January 1, 2015.

        30.   On November 13, 2014, Defendants extended the termination date to

  January 15, 2015 and again stated that Ford was to cease using the ACM software

  by the extended date.




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        31.    However, Versata’s demands were in direct violation to the terms of a

  2011addendum. In this addendum, Versata waived its right to terminate Ford’s right

  to sustained use through the end of 2015 in exchange for a fee.

        32.    In parallel with these termination notices, Defendants presented Ford

  with unreasonable license terms for Defendants’ “obsolete” ACM software Ford had

  been using since 2005.

        33.    Defendants’ new licensing proposal was 5 years at a dollar amount that

  is incrementally greater than the amount Ford would have paid for the exact same

  “obsolete” ACM software previously licensed to Ford on an annual basis.

        34.    During a conference call regarding Defendants’ new licensing

  proposal, a Defendant representative stated to Ford representatives that “we could

  have extorted a lot more money out of you three years ago.”

        35.    Ford did not accept Defendants’ unreasonable license proposal. On

  December 19, 2014, Ford notified Defendants that Ford would no longer be using

  the ACM software.



  Ford Research Engineers Invented, Developed And Patented Their Own
  Configuration Software; Defendants Forced Ford To Changeover

        36.    Beginning in 2010, engineers from Ford’s Research and Advanced

  Engineering department were working to develop software that Ford might use in

  the future to determine which vehicle configurations sell the best.

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        37.    The objective of the new software was to determine, of the millions of

  possible vehicle configurations, which configurations were likely to sell the quickest

  to minimize the amount of time the vehicles sit in dealer inventory, referred to as

  “days on lot.”

        38.    To accomplish this objective, the engineers needed to swiftly define

  and analyze millions of possible vehicle configurations, all in an attempt to narrow

  the universe of possible configurations to those buildable configurations relevant to

  an individual dealer and further constrained to avoid combinations of options likely

  to lengthen the “days on lot.”

        39.    These research engineers ultimately invented software that managed

  the millions of possible vehicle configurations very reliably, and in a very efficient

  manner. The engineers referred to their invention as the “super configurator.”

        40.    In parallel with Ford’s efforts in research, Ford Product Definition

  engineers were trying to better understand vehicle complexity so that they could

  reduce number of manufactured configurations and ultimately reduce cost. These

  efforts utilized the output of the Feature Query Validation (FQV) Service and data

  from ACM rule reports. The efforts yielded some basic tools to assess complexity

  and some proofs-of-concept, but proved to be of limited broader use due to the

  computing power required. Analyzing moderately complex programs required a

  supercomputer to run for days and complex programs failed to complete processing.


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        41.       In 2011, Ford’s Product Definition engineers and Research engineers

  recognized that the super configurator technology developed in Ford’s research

  department was orders of magnitude more powerful than the approaches developed

  using FQV or ACM. The super configurator was able to work successfully with

  vehicle programs of great complexity. Also, with the greater processing power, the

  super configurator technology could enable many uses beyond the simple

  complexity assessments that were initially targeted by the Product Definition

  engineers. The new technology could be used as the basis for a replacement for the

  ACM software – software that Defendants had declared “obsolete” and threatened

  to terminate.

        42.       The two teams joined forces and, under the heading of Total

  Configuration Management (TCM), continued to improve the performance and

  extend the capabilities of the super configuration technology.

        43.       Ford filed a patent application on its super configurator software in

  October 2011, and received a patent covering its invention in August 2014, U.S.

  Patent No. 8,812,375 (the ‘375 patent).

        44.       As explained in the ‘375 Patent, Ford’s invention approaches vehicle

  configuration very differently, and more efficiently, than Defendants do.

        45.       Ford disclosed Defendants’ configuration patents to the U.S. Patent &

  Trademark Office (“PTO”) during examination of the ‘375 Patent. The PTO


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  allowed Ford’s ‘375 patent over Defendants’ patents because Ford’s software

  operates fundamentally differently.

        46.   From 2011 to 2014, Ford developed the “PDO” vehicle configuration

  software to replace the obsolete ACM software.          Ford’s PDO software was

  constructed using Ford’s patented super configurator invention, and provides several

  significant technical advantages over the ACM software.

        47.   For example, the patented configuration engine used in Ford’s PDO

  software is more accurate than the ACM software, providing Ford with higher data

  integrity than the ACM software.

        48.   In addition, Ford’s PDO software provides a foundation that is capable

  of managing in a coherent manner a broad range of related data including integrating

  data representing vehicle volumes, configuration mix and weight – something the

  ACM software cannot do. The PDO software also provides the potential for

  extended analytic capabilities over the ACM software.

        49.   Another significant advantage of Ford’s PDO software over the ACM

  software is that PDO has been architected to support future extensions planned to

  enable Ford’s business people to easily define vehicle configurations themselves,

  without requiring the expert configuration codification analysts that the ACM

  software required. This will dramatically increase the efficiency and utility of the

  configuration software within Ford.


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          50.   Ford’s PDO software also allows Ford to develop and deploy reusable

  powerful global data services. ACM was geared to support a small group of core

  codification analysts and was not capable of handling high volumes of complex real-

  time data requests. PDO is architected to support hundreds of users interacting with

  PDO data services on a daily basis.

          51.   From the hardware perspective, Ford’s PDO software runs on a modern

  computing platform, which is more closely aligned with Ford’s computing

  infrastructure strategy.

          52.   Ford’s PDO software is also scalable to meet Ford’s global needs

  without a significant upgrade, unlike the ACM software.

          53.   Driven by the technical drawbacks of the ACM software, Defendants’

  repeated termination notices, and their unreasonable unilateral escalation of license

  fees (which Defendants referred to as “extortion”), Ford was forced to incur costs to

  prepare and deploy the patented PDO software into production prior to January 1,

  2015.



  Defendants Threatened Ford With Patent Infringement, Copyright Infringement,
  And Misappropriation of Trade Secrets, and Demanded an Audit of Ford’s PDO
  Software and Ford’s PDO Developers

          54.   In its termination letter sent October 7, 2014, Defendants attached a list

  of 86 U.S. patents and stated that Ford “has no right nor license to use any such


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  claimed inventions outside of its now expiring licensed use of [Defendants’]

  Software.”

        55.    At a meeting in Dearborn, MI on December 19, 2014 between counsel

  and client representatives for Defendants and Ford, Ford notified Defendants of

  Ford’s intention to switch to Ford’s patented configuration software. A

  representative of Defendants responded stating that Ford’s replacement

  configuration software must infringe Defendants’ intellectual property, including its

  patents, copyrights and trade secrets.

        56.    On December 23, 2014, Defendants notified Ford of their “inten[t] to

  exercise its on-premises audit rights pursuant to Section 3.5 of the [MSSA].” In

  particular, Defendants demanded an audit of “the development of an internal (or

  third party) Ford solution to replace [Defendants’] Software.”

        57.    Defendants’ audit notice also requested interviews of “Ford personnel

  who at any time worked with any of [Defendants’] Software, Materials, Confidential

  Information and/or Intellectual Property and also who at any time worked on the

  development of a Ford internal (or third party) solution to replace [Defendants’]

  Software.”

        58.    According to Defendants’ website, the following three patents cover

  their Automotive Configuration software: U.S. Patent No. 5,825,651 (the ‘561




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  Patent), U.S. Patent No. 6,405,308 (the ‘308 Patent), and U.S. Patent No. 6,675,294

  (the ‘294 Patent).

         59.    These patents were included in the list of 86 patents that Defendants

  sent to Ford in its October 7, 2014 termination letter. The ‘651 Patent was the first

  patent on the list.

         60.    According to assignment records archived at the U.S. Patent &

  Trademark Office, these patents are currently assigned to Defendants.


                                       COUNT #1:
               DECLARATORY JUDGMENT THAT FORD DOES NOT
                       INFRINGE THE ‘651 PATENT
         61.    Ford incorporates the allegations of paragraphs 1-60.

         62.    As a result of threats Defendants made to Ford concerning Defendants’

  configuration patents, including the ‘651 Patent, and Defendants’ demand to audit

  Ford’s PDO code and interview Ford’s PDO developers, an actual case or

  controversy exists with respect to the ‘651 Patent.

         63.    Ford’s PDO software does not directly or indirectly infringe the ‘651

  patent.

         64.    Ford is entitled to a declaratory judgment that it has not infringed and

  is not infringing the ‘651 patent.




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                                       COUNT #2:

              DECLARATORY JUDGMENT THAT FORD DOES NOT
                      INFRINGE THE ‘308 PATENT
        65.    Ford incorporates the allegations of paragraphs 1-64.

        66.    As a result of threats Defendants made to Ford concerning Defendants’

  configuration patents, including the ‘308 Patent, and Defendants’ demand to audit

  Ford’s PDO code and interview Ford’s PDO developers, an actual case or

  controversy exists with respect to the ‘308 Patent.

        67.    Ford’s PDO software does not directly or indirectly infringe the ‘308

  patent.

        68.    Ford is entitled to a declaratory judgment that it has not infringed and

  is not infringing the ‘308 patent.


                                       COUNT #3:
              DECLARATORY JUDGMENT THAT FORD DOES NOT
                      INFRINGE THE ‘294 PATENT
        69.    Ford incorporates the allegations of paragraphs 1-68.

        70.     As a result of threats Defendants made to Ford concerning Defendants’

  configuration patents, including the ‘294 Patent, and Defendants’ demand to audit

  Ford’s PDO code and interview Ford’s PDO developers, an actual case or

  controversy exists with respect to the ‘294 Patent.




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        71.    Ford’s PDO software does not directly or indirectly infringe the ‘294

  patent.

        72.    Ford is entitled to a declaratory judgment that it has not infringed and

  is not infringing the ‘294 patent.


                                       COUNT #4:
               DECLARATORY JUDGMENT THAT FORD OWNS, OR
              IS LICENSED TO REPRODUCE, SOFTWARE TRILOGY
                DEVELOPED PURSUANT TO THE 1998 CONTRACT
                           SERVICES AGREEMENT
        73.    Ford incorporates the allegations of paragraphs 1-72.

        74.    As a result of threats Defendants made to Ford concerning infringement

  or misappropriation of Defendants’ alleged intellectual property, and Defendants’

  demand to audit Ford’s PDO code and interview Ford’s PDO developers, an actual

  case or controversy exists with respect to ownership of any intellectual property

  associated with the ACM software.

        75.    In October 1998, Ford and Trilogy entered into the CSA governing,

  inter alia, title to Trilogy-developed software.

        76.    Between 1999 and 2004, Ford paid Defendants tens of millions of

  dollars pursuant to the CSA to develop the ACM software.

        77.    Ford is entitled to a declaratory judgment that, pursuant to the CSA,

  Ford either owns, or has the right to reproduce without accounting to Trilogy, all

  software and intellectual property developed for the ACM.

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        78.    To the extent Defendants own patents, trade secrets or copyrights

  covering functionality developed for the ACM under the CSA, Ford is entitled to a

  declaratory judgment that the CSA provides Ford at least a royalty-free license to

  practice and reproduce that intellectual property.


                                      COUNT #5:
               DECLARATORY JUDGMENT THAT FORD OWNS, OR
              IS LICENSED TO REPRODUCE, SOFTWARE TRILOGY
                 DEVELOPED PURSUANT TO THE 2004 MASTER
                  SUBSCRIPTION AND SERVICES AGREEMENT
        79.    Ford incorporates the allegations of paragraphs 1-78.

        80.    As a result of threats Defendants made to Ford concerning infringement

  or misappropriation of Defendants’ alleged intellectual property, and Defendants’

  demand to audit Ford’s PDO code and interview Ford’s PDO developers, an actual

  case or controversy exists with respect to ownership of any intellectual property

  associated with the ACM software.

        81.    In December 2004, Ford and Trilogy entered into the MSSA governing,

  inter alia, licensing and title to Trilogy-developed software deliverables.

        82.    The MSSA states that Ford is either the owner of the software

  deliverables, or is licensed to reproduce, use and exploit the deliverables on a

  “royalty free” basis.




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        83.    Ford is entitled to a declaratory judgment that, pursuant to the MSSA,

  Ford either owns, or has the right to reproduce without accounting to Trilogy,

  deliverables for the ACM.

        84.    To the extent Defendants own patents, trade secrets or copyrights

  covering deliverables developed under the MSSA, Ford is entitled to a declaratory

  judgment that the MSSA provides Ford at least a royalty-free license to practice and

  reproduce that intellectual property.


                                      COUNT #6:
              DECLARATORY JUDGMENT THAT FORD DID NOT
              MISAPPROPRIATE DEFENDANTS’ TRADE SECRETS
        85.    Ford incorporates it allegations in paragraphs 1-84.

        86.    As a result of threats Defendants made to Ford concerning

  misappropriation of Defendants’ alleged trade secrets in connection with Ford’s

  development of the PDO software, and Defendants’ demand to audit Ford’s PDO

  code and interview Ford’s PDO developers, an actual case or controversy exists with

  respect to Defendants’ alleged trade secrets.

        87.    At no time did Defendants provide Ford with the source code for the

  SC Config or ACM software.

        88.    The software customizations for the SC Config or ACM software were

  either Ford specified, or jointly developed by Ford and Defendants for configuring

  vehicles within Ford and consistent with Ford’s business practices.

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        89.    Pursuant to the CSA and MSSA, Ford either owns, or has a royalty-free

  license to reproduce the software deliverables and customizations for the SC Config

  and ACM software.

        90.    Ford is entitled to a declaratory judgment that Ford did not

  misappropriate Defendants trade secrets to develop Ford’s PDO software.


                                      COUNT #7:

              DECLARATORY JUDGMENT THAT DEFENDANTS ARE
                  NOT PERMITTED TO INSPECT FORD’S PDO
                   SOFTWARE OR INTERVIEW FORD’S PDO
                   DEVELOPERS PURSUANT TO THE AUDIT
                       PROVISIONS OF THE 2004 MSSA
        91.    Ford incorporates the allegations of paragraphs 1-90.

        92.    On December 23, 2014, Defendants notified Ford of Defendants’

  “inten[t] to exercise its on-premises audit rights pursuant to Section 3.5 of the

  [MSSA].” In particular, Defendants demanded an audit of “the development of an

  internal (or third party) Ford solution to replace [Defendants’] Software.”

        93.    Defendants’ audit notice also requested interviews of “Ford personnel

  who at any time worked with any of Defendants’ Software, Materials, Confidential

  Information and/or Intellectual Property and also who at any time worked on the

  development of a Ford internal (or third party) solution to replace Defendants’

  Software.”




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        94.    The MSSA does not permit Defendants to inspect Ford’s PDO

  software, or interview Ford’s PDO developers. The MSSA simply requires Ford to

  provide access to the licensed software and records.

        95.    Ford’s PDO software was developed by Ford independent of

  Defendants’ ACM software. Thus, Ford has no obligation to permit Defendants to

  inspect Ford’s PDO software, or interview Ford’s PDO developers.

        96.    To fulfill its obligations under the MSSA, Ford has agreed to provide

  Defendants with an inspection of Ford’s records pertaining to the licensed ACM

  software. Ford has informed Defendants, however, that it will not permit Defendants

  to audit Ford’s PDO software, or interview Ford’s PDO developers.

        97.    Because Ford contends that the requested audit of Ford’s PDO software

  and developers is not permitted under the MSSA, and Defendants contend that such

  an audit is permitted, an actual case or controversy exists with respect to the MSSA,

  and Ford’s obligations thereunder.

        98.    While the parties’ dispute arises from a contract provision concerning

  the scope of Defendants’ audit rights under the MSSA, the underlying case or

  controversy between the parties involves a substantive matter of patent law. As

  explained in detail above, Defendants’ October 7, 2014 termination letter attached a

  list of 86 U.S. patents which Defendants stated Ford “has no right nor license to use




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  any such claimed inventions outside of its now expiring licensed use of

  [Defendants’] Software.”

        99.    At a meeting in Dearborn, MI on December 19, 2014 between counsel

  and client representatives for Defendants and Ford, a Defendant representative stated

  that Ford’s replacement configuration software must infringe Defendants’

  intellectual property, including its patents.

        100. Four days later, on December 23, 2014, Defendants demanded an audit

  of “the development of an internal (or third party) Ford solution to replace

  Defendants’ Software” and interviews of “Ford personnel who at any time worked

  with any of Defendants’ Software, Materials, Confidential Information and/or

  Intellectual Property and also who at any time worked on the development of a Ford

  internal (or third party) solution to replace [Defendants’] Software.”

        101. Defendants’ allegations and demands to Ford reveal a present case or

  controversy between the parties concerning the extent to which Ford’s PDO software

  practices Defendants’ patents and other intellectual property. That is the reason

  Defendants expressed for requesting the audit in the first place.


                                       COUNT #8:
                              BREACH OF CONTRACT
        102. Ford incorporates the allegations of paragraphs 1-101.




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         103. Ford and Versata entered into an enforceable contract granting Ford the

  right to use Versata’s ACM software in exchange for a fee.

         104. Pursuant to a 2011 addendum to the MSSA, Versata waived its right to

  terminate the contract for convenience before January 15, 2015 in exchange for a

  fee.

         105. Ford paid the fee specified in the 2011 addendum and therefore satisfied

  all conditions precedent.

         106. Pursuant to a 2011 addendum to the MSSA, Versata waived its right to

  terminate our right to sustained use through the end of 2015 in exchange for a fee.

  Versata’s termination notices were in direct violation to the 2011 addendum, and

  prohibited Ford from exercising its option to continue use of the ACM software

  through December 31, 2015.

         107. Due to the termination notices, Ford was also forced to incur costs to

  complete and deploy the alternate PDO software prior to January 1, 2015.

         108. Versata’s conduct constituted a breach of the MSSA.

         109. As a direct and proximate cause of Versata’s breach of the MSSA, Ford

  has suffered damages including, but not limited to, the fees Ford paid to Versata for

  the waiver and the costs Ford wrongfully incurred to prepare and deploy the PDO

  software prior to January 1, 2015.




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                                    COUNT #9:

                DECLARATORY JUDGMENT OF INVALIDITY
                      OF U.S. PATENT NO. 5,825,651
        110. Ford incorporates the allegations of paragraphs 1-109.

        111. All claims of the ‘651 patent are unpatentable and invalid under 35

  U.S.C. §§ 101, 102, 103, and 112 as set forth more fully in Ford’s invalidity

  contentions, which may be amended as permitted by the Court’s Scheduling Oder.


                                   COUNT #10:

                DECLARATORY JUDGMENT OF INVALIDITY
                      OF U.S. PATENT NO. 6,405,308
        112. Ford incorporates the allegations of paragraphs 1-111.

        113. All claims of the ‘308 patent are unpatentable and invalid under 35

  U.S.C. §§ 101, 102, 103, and 112 as set forth more fully in Ford’s invalidity

  contentions, which may be amended as permitted by the Court’s Scheduling Oder.


                                   COUNT #11:

                DECLARATORY JUDGMENT OF INVALIDITY
                      OF U.S. PATENT NO. 6,675,294
        114. Ford incorporates the allegations of paragraphs 1-113.

        115. All claims of the ‘294 patent are unpatentable and invalid under 35

  U.S.C. §§ 101, 102, 103, and 112 as set forth more fully in Ford’s invalidity

  contentions, which may be amended as permitted by the Court’s Scheduling Oder.




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                                   COUNT #12:

                DECLARATORY JUDGMENT OF INVALIDITY
                      OF U.S. PATENT NO. 8,805,825
        116. Ford incorporates the allegations of paragraphs 1-115.

        117. All claims of the ‘825 patent are unpatentable and invalid under 35

  U.S.C. §§ 101, 102, 103, and 112 as set forth more fully in Ford’s invalidity

  contentions, which may be amended as permitted by the Court’s Scheduling Oder.


                                   COUNT #13:

                DECLARATORY JUDGMENT OF INVALIDITY
                      OF U.S. PATENT NO. 7,200,582
        118. Ford incorporates the allegations of paragraphs 1-117.

        119. All claims of the ‘582 patent are unpatentable and invalid under 35

  U.S.C. §§ 101, 102, 103, and 112 as set forth more fully in Ford’s invalidity

  contentions, which may be amended as permitted by the Court’s Scheduling Oder.


                                   COUNT #14:

                DECLARATORY JUDGMENT OF INVALIDITY
                      OF U.S. PATENT NO. 7,739,080
        120. Ford incorporates the allegations of paragraphs 1-119.

        121. All claims of the ‘080 patent are unpatentable and invalid under 35

  U.S.C. §§ 101, 102, 103, and 112 as set forth more fully in Ford’s invalidity

  contentions, which may be amended as permitted by the Court’s Scheduling Oder.




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                                   COUNT #15:

                DECLARATORY JUDGMENT OF INVALIDITY
                      OF U.S. PATENT NO. 7,464,064
        122. Ford incorporates the allegations of paragraphs 1-121.

        123. All claims of the ‘064 patent are unpatentable and invalid under 35

  U.S.C. §§ 101, 102, 103, and 112 as set forth more fully in Ford’s invalidity

  contentions, which may be amended as permitted by the Court’s Scheduling Oder.


                                   COUNT #16:

                DECLARATORY JUDGMENT OF INVALIDITY
                      OF U.S. PATENT NO. 7,882,057
        124. Ford incorporates the allegations of paragraphs 1-123.

        125. All claims of the ‘057 patent are unpatentable and invalid under 35

  U.S.C. §§ 101, 102, 103, and 112 as set forth more fully in Ford’s invalidity

  contentions, which may be amended as permitted by the Court’s Scheduling Oder.


                                   COUNT #17:

                            BREACH OF CONTRACT
        126. Ford incorporates the allegations of paragraphs 1-125.

        127. Ford and Versata entered into a contract entitled “Software

  Subscription Amendment #1” (“the SSA”) with an effective date of January 1, 2002.




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        128. Subsequently in December 2004, Ford and Versata entered into the

  Master Subscription and Services Agreement (“MSSA”) which, by its express terms

  superceded the SSA.

        129. Ford asserts that the SSA is no longer enforceable. Versata, however,

  denies that the MSSA completely superceded the SSA, and asserts claims against

  Ford based on certain terms of that agreement.

        130. To the extent the SSA was not completely superceded by the MSSA as

  Versata claims, Versata has breached provisions of the SSA to Ford’s detriment.

        131. Versata agreed in paragraph 2(E) that, beginning in 2005, Ford would

  receive a refund equal to 25% of all ACM subscription fees paid by other OEMs, up

  to $2,750,000 per year.

        132. Ford has not received the annual refund of ACM subscription fees as

  required under the SSA. Upon information and belief, at least one non-Ford OEM

  is currently paying Versata license fees for ACM. In breach of provision 2(E),

  Versata has failed to pay Ford 25% of the ACM subscription fees Versata has

  received.

        133. As a direct and proximate cause of Versata’s breach of the SSA, Ford

  has suffered damages including, but not limited to, the refunds Ford was and is

  entitled to receive pursuant to paragraph 2(E) of the SSA.




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                                       COUNT #18:

                              INEQUITABLE CONDUCT
        134. Ford incorporates the allegations of paragraphs 1-133.

        135. Versata’s ‘651, ‘308 and ‘294 patents are unenforceable as a result of

  Versata’s inequitable conduct before the U.S. Patent & Trademark Office

  (“USPTO”) in connection with the ‘651 patent. As explained in detail below, and

  subject to further evidentiary support after reasonable opportunity for further

  investigation and discovery, at least J.D. Harriman II, Ajay Agarwal and Dr. David

  Franke acted with a specific intent to deceive the USPTO when they knowingly and

  intentionally failed to disclose material prior art to the USPTO during examination

  of the ‘651 patent. But for their failure to disclose this material prior art information,

  one or more claims of the ‘651 patents would not have issued. As a result of the

  inequitable conduct with respect to the ‘651 “parent” patent, the “child” patents in

  the ‘651 patent family (the ‘308 and ‘294 patents) are unenforceable as well.

        136. The ‘651 patent describes a problem that Versata was attempting to

  solve in September 1996 when the application for the ‘651 patent was filed:

        Computer systems have been developed to assist one in configuring a
        system. However, these systems use a configuration language to define
        a system. Like a programming language, a configuration language uses
        a syntax that must be understood by a user who is maintaining the data
        (i.e., a data maintainer). To use one of these configuration systems, it is
        necessary for a data maintainer to understand the configuration
        language. This limits the number of users who are able to use the
        configuration systems. That is, the level of sophistication needed to
        communicate with the configuration system (through a configuration

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        language) results in less sophisticated users being unable to use the
        system.

        137. According to the “Summary of the Invention,” the ‘651 patent purports

  to solve this “sophistication” problem with a “maintenance system” having a

  “graphical user interface”:

        Using the maintenance system, a product can be defined using the
        product classifications and the part relationships. A graphical user
        interface (GUI) is used to allow the user to interactively generate a
        definition. Instead of configuration languages, GUI operations such as
        drag and drop and selection operations can be used to specify a
        definition. The notions of included, optional and required choice are
        easily comprehensible to a user. Further, the idea that parts have
        interrelationships is also easily understood. Thus, a product can be
        defined without having to learn a complicated configuration language.

        138. The patent explains that the “definition” generated by the “maintenance

  system” is used during a “configuration session” to validate user selections.

        139. For several years before the application for the ‘651 patent was filed,

  however, Versata had been selling and offering for sale its “SalesBUILDER”

  configuration software having a “Maintenance System” with a graphical user

  interface that enabled users to more easily define relationships for products. Joe

  Liemandt, Versata’s president and founder, has testified that SalesBUILDER was

  Trilogy’s “flagship” configuration software that Trilogy (now Versata) began selling

  in 1991 – five years before the application for the ‘651 patent was filed.

        140. A 1993 Trilogy marketing brochure shows the “Maintenance System”

  graphical user interface for the “SalesBUILDER” configuration software.

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        141. Versata’s marketing brochure states:

        The Maintenance System provides a graphical interface that visually
        describes component relationships and provides easy navigation
        through the configuration database.

        As a result, a wide variety of people in your organization can maintain
        sales configuration information.

        142. As shown in the “Maintenance System” user interface above, a

  “Product Editor” enables a user to “visually describes component relationships”

  including “required” elements and “Options” – what the ‘651 patent purports to have

  invented years later. The SalesBUILDER product performed additional aspects of

  the ‘651 patent, including “validating” user input based on the product definition.

        143. The following graphic from Versata’s 1993 marketing brochure shows

  the SalesBUILDER “Maintenance System” in relation to the other elements of

  SalesBUILDER, including the “Configuration Engine.”


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        144. This graphic is similar, in substance, to the “Summary of the Invention”

  of the ‘651 patent, and Figure 2, which describe a “Maintenance System” (202)

  providing input to a “Configuration System” (212).




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        145. Versata’s SalesBUILDER configuration software, including the

  “Maintenance System” shown above, is prior art to the ‘651 patent under 35 U.S.C.

  §102(b) because it was on sale in this country by 1993, more than one year prior to

  the filing date of the ‘651 patent (September 3, 1996).

        146. The graphical “Maintenance System” of Versata’s prior art

  SalesBUILDER software is not cumulative to prior art considered by the USPTO

  during examination of the ‘651 patent. For example, Versata’s patent counsel (J.D.

  Harriman II) asserted during examination of the ‘651 patent that the prior art under

  consideration at the USPTO lacked the claimed “includes classification” associated

  with a “product relationship.” (May 6, 1998 Amendment at 34-36.) As shown

  above, however, the prior art SalesBUILDER Maintenance System user interface

  depicts a “requires” (a/k/a “includes”) “component relationship” between “Vmail

  program tape” and “blank_tape.” Thus, the SalesBUILDER Maintenance System

  disclosed the claimed feature that Versata’s patent counsel asserted was missing in

  the prior art. This “includes” relationship limitation is recited in several claims of

  the ‘651 patent including but not limited to claims 1-15, 20-34, 44, 46, 50, 64 and

  77. A similar “automatically included” limitation is recited in claims 16-19 and 35-

  38.

        147. In another example, Versata’s counsel asserted that the prior art under

  consideration at the USPTO failed to disclose “configuring a system.” Versata’s


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  prior art SalesBUILDER software, however, was specifically designed for

  “configuring a system.” Versata’s marketing literature states: “SalesBUILDER

  automates the product configuration and sales quotation process as never before”

  and “SalesBUILDER is orders of magnitude easier to maintain than traditional

  configuration methods.”     Joe Liemandt, Versata’s president and founder, has

  testified that SalesBUILDER was Trilogy’s “flagship” “configuration” software.

        148. Other prior art materials describing the SalesBUILDER software

  confirm that SalesBUILDER practiced all limitations of several claims of the ‘651

  patent.   For example, and without limitation, SalesBUILDER practiced every

  limitation of independent claims 1 and 60.

        149. Claims 1 and 60 recite a method of “configuring a system.” The 1993

  brochure states that “SalesBUILDER automates the product configuration

  . . . process.” Likewise, a 1992 article titled “Automating and Integrating the Sales

  Function: How to Profit from Complexity and Customization” states that

  SalesBUILDER was an “automated tool[] for configuring . . . preparation.”

        150. Claims 1 and 60 also recite “generating a definition” that contains “one

  or more elements” being graphically conveyed using “a set of product relationships.”

  The 1992 article states that a “non-programmer” can use a “graphical interface” to

  add or modify “new products.” The 1992 article states that “simple diagrams

  represent the relationship between components.” SalesBUILDER discloses


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  components/elements that are conveyed graphically using a product relationship as

  claimed. A graphical user interface showing these relationships is also provided in

  the 1993 brochure.




        151. Claim 1 recites that the “product relationships” at least comprise an

  “includes classification.” As explained above, SalesBUILDER discloses an

  “includes classification” for “product relationships.”

        152. Claims 1 and 60 recite “generating part relationships” between the

  elements and conveying the “part relationships” graphically. The 1992 article

  confirms that SalesBUILDER graphically depicts part relationships in which

  product components have further relationships to “dependent components.”




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        153. Claim 60 further recites “receiving input from a configuration user” and

  validating the input based on the “definition,” “product relationship,” “part

  relationship,” and current “configuration state.” The 1992 article states that

  SalesBUILDER includes a GUI that receives input from a configuration user and

  based on the input received will generate a series of output windows or prompts. The

  1992 article states that one prompt includes notifying a user of any configuration

  mistakes based on a current selection. SalesBUILDER therefore validates the user

  input based on the “definition,” “product relationship,” “part relationship,” and

  current “configuration state.”




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        154. Claim 60 recites “identifying a set of valid configuration options based

  on the “definition,” “product relationship,” “part relationship,” and current

  “configuration state.” As shown below, SalesBUILDER validates a current user

  selection. If a user selection will make the configuration invalid, SalesBUILDER

  prompts the user and identifies a set of valid configuration choices.




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        155. SalesBUILDER therefore discloses each limitation of claims 1 and 60.

  But for the failure to disclose SalesBUILDER to the USPTO, these claims would

  not have issued.

        156. During examination of the ‘651 patent, Versata’s patent counsel

  identified only a single piece of prior art (U.S. Patent No. 4,796,194). This was not

  a Versata patent, and had nothing to do with SalesBUILDER. Versata, the ‘651

  inventors, and their patent counsel never informed the USPTO or the examiner of its

  “flagship” prior art SalesBUILDER configuration software, or the fact that

  SalesBUILDER practiced the feature that Versata’s patent counsel argued was

  missing in the prior art.

        157. Versata has contended that Versata’s U.S. Patent Nos. 5,515,524 (the

  ‘524 patent) and 5,708,798 (the ‘798 patent) disclose aspects of the prior art

  SalesBUILDER software. But Versata, the inventors, and their patent counsel never

  disclosed the ‘524 or ‘798 patents to the USPTO during examination of the ‘651

  patent – despite the fact that the ‘524 and ‘798 patents had each issued before the

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  ‘651 patent. Versata disclosed the ‘524 and ‘798 patents to the USPTO for the first

  time on October 25, 2000 – more than four years after the ‘651 patent had issued.

  Versata disclosed these prior art patents during examination of the ‘308 patent, a

  “continuation” or “child” of the ‘651 patent. Versata, the inventors, and their patent

  counsel could have disclosed the ‘524 and ‘798 patents during examination of the

  ‘651 patent, but did not do so.

        158. 37 C.F.R. 1.56 states in part:

        1.56 DUTY TO DISCLOSE INFORMATION MATERIAL TO
        PATENTABILITY.

        (a) A patent by its very nature is affected with a public interest. The
        public interest is best served, and the most effective patent examination
        occurs when, at the time an application is being examined, the Office is
        aware of and evaluates the teachings of all information material to
        patentability. Each individual associated with the filing and
        prosecution of a patent application has a duty of candor and good
        faith in dealing with the Office, which includes a duty to disclose to
        the Office all information known to that individual to be material to
        patentability as defined in this section. The duty to disclose
        information exists with respect to each pending claim until the claim is
        cancelled or withdrawn from consideration, or the application becomes
        abandoned. (Emphasis added.)

        159. At least J.D. Harriman II, Ajay Agarwal and Dr. David Franke were

  “individuals associated with the filing and prosecution” of the application for the

  ‘651 patent, were aware of Versata’s “flagship” SalesBUILDER configuration

  software during the examination of the application for the ‘651 patent, and failed to

  disclose SalesBUILDER to the USPTO and the examiner.


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        160. J.D. Harriman II is the patent attorney who prosecuted the application

  for the ‘651 patent before the USPTO.          Mr. Harriman also prosecuted the

  applications for the ‘524 and ‘798 patents, which issued before the ‘651 patent and

  which Versata contends correspond to Versata’s the SalesBUILDER software. On

  information and belief, Mr. Harriman was familiar with the existence and operation

  of Versata’s “flagship” SalesBUILDER software during the examination of the

  application for the ‘651 patent.

        161. Ajay Agarwal is an inventor of the ‘651 patent. Mr. Agarwal was a

  Senior Vice President of Sales and Marketing at Trilogy beginning in 1995, before

  the application for the ‘651 patent was filed. On information and belief, Mr. Agarwal

  was familiar with the existence and operation of Versata’s “flagship”

  SalesBUILDER software throughout the examination of the application for the ‘651

  patent.

        162. Dr. David Franke, while an employee of Versata, managed Versata’s

  intellectual property, including evaluating internally developed technology for

  patent potential and coordinating interaction with patent attorneys in developing

  patent disclosures, during the time when application for the ‘651 patent was pending

  in the USPTO. Dr. Franke began working at Trilogy in 1992. Dr. Franke helped in

  the development and design of the SalesBUILDER software. Dr. Franke is a co-

  inventor of the prior art ‘524 and ‘798 patents which Versata contends disclose


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  aspects of the SalesBUILDER software. On information and belief, Mr. Franke was

  familiar with the existence and operation of Versata’s “flagship” SalesBUILDER

  software throughout the examination of the application for the ‘651 patent.

        163. Each of these individuals were associated with the filing and

  prosecution of the ‘651 patent. Each of these individuals thus had a duty of candor

  and good faith in dealing with the USPTO, which included the duty to disclose all

  information known to these individuals to be material to patentability of the

  application for the ‘651 patent. Yet, none of these individuals made any mention of

  Versata’s “flagship” prior art SalesBUILDER configuration software to the USPTO

  during examination of the application for the ‘651 patent, let alone disclose to the

  USPTO that SalesBUILDER practiced the feature Mr. Harriman asserted to the

  USPTO was missing in the prior art. (May 6, 1998 Amendment at 34-36.) On

  information and belief, likely to have evidentiary support after a reasonable

  opportunity for further investigation or discovery, these individuals intentionally

  withheld from the USPTO at least the material information about SalesBUILDER

  identified in the preceding paragraphs. But for their intentional withholding of that

  information, the ‘651 patent would not have issued.

        164. The ‘651 patent is unenforceable as a result of this inequitable conduct.

  As a result of this inequitable conduct with respect to the application for the ‘651




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  “parent” patent, the “child” patents in the ‘651 patent family (the ‘308 and ‘294

  patents) are unenforceable as well.




                              IV. RELIEF REQUESTED
        Ford requests a trial by jury on any and all issues so triable, and an order

  declaring that:

        A. FORD does not infringe and has not infringed the ‘651 patent;

        B. Ford does not infringe and has not infringed the ‘308 patent;

        C. Ford does not infringe and has not infringed the ‘294 patent;

        D. Ford owns or has the royalty-free right to right to reproduce software that

            Trilogy developed pursuant to the 1998 Contract Services Agreement;

        E. Ford owns or has the royalty-free right to right to reproduce software that

            Defendants developed pursuant to the 2004 Master Subscription and

            Services Agreement;

        F. Ford has not misappropriated Defendants’ trade secrets;

        G. Section 3.5 of the 2004 Master Subscription and Services Agreement does

            not authorize Defendants to inspect Ford’s PDO source code or interview

            Ford’s PDO developers;

        H. Versata has breached the MSSA contract and Ford is entitled to damages

            suffered as a result of this breach;


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        I. Versata’s asserted patents are invalid;

        J. Versata’s ‘651, ‘308 and ‘294 patents are unenforceable due to inequitable

            conduct;

        K. Ford is entitled to costs and attorney fees; and

        L. All other relief to which Ford is entitled.



                              JURY TRIAL DEMAND


        Pursuant to Fed. R. Civ. P. 38(b) and 5(d), Plaintiff demands a jury trial of all

  issues triable by jury.

                                         Respectfully submitted,

  Dated: January 20, 2017                  /s/ John S. LeRoy
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                                         Thomas A. Lewry (P36399)
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                   CERTIFICATE OF ELECTRONIC SERVICE


         I hereby certify that on January 20, 2017 , I electronically filed the foregoing
  FORD’S SECOND AMENDED COMPLAINT FOR DECLARATORY
  JUDGMENT with the Clerk of the Court for the Eastern District of Michigan using
  the ECF System which will send notification to the following registered participants
  of the ECF System as listed on the Court's Notice of Electronic Filing: Rodger D.
  Young at efiling@youngpc.com; James P. Feeney at jfeeney@dykema.com,
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         I also certify that I have mailed by United States Postal Service the paper to
  the following non-participants in the ECF System: NONE.


                                            /s/ John S. LeRoy
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                                          Thomas A. Lewry (P36399)
                                          Frank A. Angileri (P45611)
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